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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:
                                                             Case No. 19-64835-pmb
BONNIE ROSE,                                                 Chapter 13

         Debtor.


BONNIE ROSE,

         Plaintiff,
v.

WVMF FUNDING LLC, RUBIN LUBLIN,
LLC, AND MELISSA DAVEY, CHAPTER                              Adversary No. 19-05327-pmb
13 TRUSTEE,

         Defendants.


                      WVMF FUNDING, LLC AND RUBIN LUBLIN, LLC’S
                                MOTION TO DISMISS

         COMES NOW, WVFM Funding, LLC and Rubin Lublin, LLC (“WVMF” and “Rubin

Lublin” individually, “Defendants” collectively), named defendants in the above styled action,

and hereby move this Court to dismiss this matter for lack of subject matter jurisdiction pursuant

to Fed. R. Civ. P. 12(b)(1). In support of this Motion, the Defendants rely upon the arguments set

forth in their Memorandum of Law, filed contemporaneously herewith.

         WHEREFORE, Defendants pray for relief as follows:

         a) That this Court grant this Motion and dismiss the above-styled action for lack of

             subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1); and

         b) For any other relief that this Court deems just and proper.
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     Respectfully submitted, this 27th day of November 2018.

                                                /s/ Bret J. Chaness
                                                BRET J. CHANESS (GA Bar No. 720572)
                                                RUBIN LUBLIN, LLC
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                                                Rubin Lublin, LLC
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have, this 27th day of November 2019, caused a true and correct

copy of the within and foregoing to be served via U.S. First Class mail to the following:

Bonnie Rose
3019 Saint Andrews Court
Jonesboro, GA 30236


                                                     /s/ Bret J. Chaness
                                                     BRET J. CHANESS (GA Bar No. 720572)
